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                                                                                          FILED
Form IN FORMA PAUPERIS — 1 (Rev. 12/1/20, OHSD)                                 R     -, , P. 0
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        IN THE UNITED STATES DISTRICT C "=k?R1                                                    2 I1 P
                  FOR THE SOUTHERN DISTRICT OF OHIQ.s. s T ;c COURT
                                                                                SOUTHER? DISTRICT
                                                                                C UU0-C0LUMCUS



                                                                           5     r`   y     n O
                              Plaintiff(s),
                                                             Case No.
     -vs-                                                                       JUDGE MOR ISON
                                                                                                       r`1~4?I4j RS
                                                                                                       0/             N
                              Defendant(s)




       APPLICATION AND AFFIDAVIT BY INCARCERATED PERSON
            TO PROCEED WITHOUT PREPAYMENT OF FEES


                          NOTICE TO PRISONERS REGARDING
                          PROCEEDINGS INFORMA PAUPERIS

        Prisoner account statement required. A prisoner seeking to bring a civil action or file
an appeal without prepayment of fees or security therefor must submit a certified copy of the
trust fund account statement (or institutional equivalent) for the six-month period immediately
preceding the filing of the complaint or the filing of a notice of appeal. Prison Litigation Reform
Act of 1995, Pub L. No. 104-131, 110 Stat. 1321, § 804(a)(1)-(3), 28 U.S.C. §1915(a)-(h). The
trust fund account statement is obtained from the cashier of the prison or prisons at which the
prisoner was confined during the previous six months. 28 U.S.C. § 1915(a)(2). Since an appeal
is a separate action, another application to proceed without prepayment of fees or security
therefor must be filed when you file a notice of appeal. A prisoner seeking habeas corpus relief
is not required to file a prisoner account statement.

        Filing Fees. The current fees for filing a habeas corpus petition, civil complaint, and
notice of appeal are:

            •   Habeas Corpus Petition                                        $   5.00
            •   Civil Complaint (IFP Denied)                                  $ 405.00
            •   Civil Complaint (IFP Granted)                               . $ 350.00
            •   Appeal                                                        $ 605.00
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                                HABEAS CORPUS PETITIONS

         A prisoner seeking habeas corpus relief must file an affidavit to proceed without
prepayment of fees. If the prisoner does not have sufficient funds in his prison account or
elsewhere to pay the $5.00 filing fee, the Court will grant him in forma pauperis status and
waive the entire fee. The prisoner may then proceed with his action without the prepayment of
the filing fee. 28 U.S.C. § 1915(a)(1).

                            CIVIL COMPLAINTS AND APPEALS

       Prisoners must pay the full filing fee. If a prisoner brings a civil action in forma
pauperis, the prisoner shall be required to pay the full amount of the filing fee. 28 U.S.C. §
1915(b)(1).

      Initial partial filing fee. The Court will assess and, when funds exist, collect, as partial
payment of the filing fee, an initial partial filing fee of 20 percent of the greater of:

       (I)     The average monthly deposits to the prisoner's account; or

       (2)     The average monthly balance in the prisoner's account for the six-month period
               immediately preceding the filing of the complaint.

28 U.S.C. § 1915(b)(1). No matter how little money is in the prisoner's account, prison officials
must forward payments to the Court until the initial partial filing is paid. In re Prison Litigation
Reform Act, Administrative Order No. 97-01, Part II(C), 105 F.3d 1131, 1133 (6th Cir. 1997).

        Monthly payments. After payment of the initial partial filing fee, the prisoner shall be
required to make monthly payments of 20 percent of the preceding month's income credited to
the prisoner's account. The cashier of the prison shall forward payments from the prisoner's
account to the Clerk of the Court each time the amount in the account exceeds $10 until the filing
fees are paid. 28 U.S.C. § 1915(b)(2).

       If you cannot pay the initial partial filing fee. In no event shall a prisoner be
prohibited from bringing a civil action for the reason that the prisoner has no assets and no
means by which to pay the initial partial filing fee. 28 U.S.C. § 1915(b)(4).

        Example of how the filing fee will be assessed and collected. If Prisoner A had an
average monthly balance in his/her prisoner's account for the previous six months of $2 and
average monthly deposits of 10, then his/her initial partial filing fee would be $4 because the
greater of his/her average monthly balance ($2) and average monthly deposits ($20) is $20 and
20% of $20 is $4.

       Average monthly deposit x 20%          =       Initial partial filing fee
                           $20 x .20          =       $4.00




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        The Court's Order granting leave to proceed without prepayment of fees or security
therefor would require the prison cashier to forward $4 to the Clerk of Court. No matter how
little money is in the Prisoner A's account when the Order is issued, prison officials must
forward payments to the Court until the entire $4 initial partial fee is paid. In re Prison
Litigation Reform Act, Administrative Order No. 97-01, Part II(C), 105 F.3d at 1133.

        The Court's Order would also require the cashier to collect each month a monthly
payment of 20% of the preceding month's income credited to Prisoner A's account. If in the first
month following the payment of the initial partial filing fee Prisoner A received $20 in State pay
and no other monies were deposited in his account, his monthly payment would be $4 ($20 x .20
_ $4). If in the second month following the payment of the initial partial filing fee Prisoner A
received $20 in State pay and $50 from his family, his monthly payment would be $14 ($70 x .20
_ $14). Every month the deposits in Prisoner A's account exceeds $10, the prison cashier would
assess, collect, and forward to the Clerk of Court a monthly payment of 20% of that month's
total deposits. Each month the cashier could continue to assess and collect monthly payments
until the entire filing fee is paid.

         Filing a complaint waives any objection to the Court assessing the fee. By filing the
complaint, a prisoner waives any objection to the fee assessment by the Court. Furthermore, the
prisoner waives any objection to the withdrawal of funds from the trust account by prison
officials to pay the prisoner's court fees and costs. Prisoners have a duty to cooperate during the
litigation. In re Prison Litigation Reform Act, Administrative Order No. 97-01, Part II, 105 F.3d
at 1132.

        Administrative remedies. Prisoners must exhaust available administrative remedies
before bringing a civil action in federal court under 42 U.S.C. § 1983 or any other federal law.
The failure to exhaust such administrative remedies will result in the dismissal of the civil action.
42 U.S.C. § 1997 (e)(a). In most instances, prisoners must exhaust the state formal grievance
procedures set for in Ohio Admin. Code § 5120-9-31, which includes filing a formal grievance
with the inspector of institutional services and appeal to the Chief Inspector of the Ohio
Department of Rehabilitation and Correction, prior to filing a complaint in federal court.

        Prisoners seeking federal habeas corpus relief must first exhaust their available state
court remedies under 28 U.S.C. 2254(b).

        Court required to dismiss complaints which are frivolous, malicious, or fail to state
a claim. The Court is required to conduct an initial screening of the complaint and to dismiss
any action brought by a prisoner confined in any jail, prison, or other correctional facility with
respect to prison conditions under 42 U.S.C. § 1983 or any other federal law if the Court is
satisfied that the action is frivolous, malicious, fails to state a claim upon which relief can be
granted, or seeks monetary relief from a defendant who is immune from such relief. 42 U.S.C. §
1997(e)(c)(1); 28 U.S.C. §§ 1915A and 1951 (e)(2).

         Even if the complaint is dismissed, you must pay the entire filing fee. Dismissal of a
civil action at any stage of the proceedings for any reason, including dismissals for failure to
exhaust administrative remedies or dismissals on the basis that the claim is frivolous, malicious,
or fails to state a claim upon which relief can be granted, will not release the prisoner from the
obligation to pay the total filing fee. 28 U.S.C. § 1915(b)(1). Even if the Court dismisses the
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complaint the same day leave to proceed in forma pauperis is granted or a prisoner voluntarily
dismisses a complaint (or files an appeal), he or she has to pay the required filing fees. In re
Prison Litigation Reform Act, Administrative Order No. 97-01, Part III, 105 F.3d at 1133-34.

        If a federal court has dismissed your complaints or appeals as frivolous, malicious
or failing to state a claim three times in the past, you cannot proceed in forma pauperis in a
new case absent a threat of imminent, serious physical injury. A prisoner who has on three
or more prior occasions, while incarcerated or detained in any facility, brought an action or
appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, cannot proceed in forma
pauperis unless the prisoner is under imminent danger of serious physical injury. 28 U.S.C. §
1915(g).




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                                          AFFIDAVIT

       I, ~1~o~1nQ~°e5~ aavo~ Fann~ t~ ~       ,declare that I am the (check appropriate box):


               LVJ petitioner         movant                ❑ other

in the above-entitled proceeding; that in support of my request to proceed without prepayment of
the full filing fee or costs under 28 U.S.C. § 1915, I declare that I am unable to prepay the full
filing fee or the costs of these proceedings and that I am entitled to the relief sought in the
complaint/petition/motion.

       In support of this application, I answer the following questions under the penalty of
perjury:


   1. Are you currently incarcerated?     111' 'e           ❑ No

       If "Yes", state the place of incarceration: Cn    c 9o     \     L~e-k O   Lc h}~p (o o L)

       (If "No" this is the wrong form for you. You should request the Non-Prisoner
       Declaration in Support of Request to Proceed In Forma Pauperis.)

   2. Do you have a work, program, status assignment or other circumsta ces which causes
      you to be paid by the prison, jail, or other custodial institution? [2I P    ❑ No

       If "Yes", state the amount credited to you each month: $       ic9j .DD            /month

   3. In the past 12 months have you received any money from the following sources? If so,
      state the total amount received.
                                                                             Amount
      a. Business, profession or
          other self-employment          ❑ Yes

       b. Rent payments, interest
                                            ❑ Yes
          or dividends                                                             $ co

       c. Pensions, annuities or
          Life insurance payments           ❑ Yes

       d. Disability or workers
                                            ❑ Yes                     ~N
          compensation payments                                                    $ O~OD

       e. Gifts or inheritances             ❑ Yes

       f. Any other sources                 ❑ Yes



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       If the answer to any of the above is "Yes", describe each source of money and state
       the amount received and what you expect you will continue to receive.




4. Do you have any cash or checking or savings accounts outside the prison?

                     ❑ Yes                     ® ~Io      Amount $ r U Q

5. Do you have a secondary savings account, such as a certificate of deposit or a savings
   bond, which is recorded by the prison cashier?

                     ❑ Yes                         No     Amount $ OA pp

6. Do you own any assets, including real estate, stocks, bonds, securities, other fi nancial
   instruments, automobiles or other valuable property?

                     ❑ Yes                     ® No

   If "Yes", describe each asset and state its value:

           ASSET                                                      VALUE

           Autos         j                                       $

           (Make/Model/Year)          N / P1
           Stocks                  Nj A                          $

                                                                 $

           Bonds             N A                                 $

           Notes             N/ / A                              $

           Real Estate                                           $

                               $                    (mortgage)

           Other      J / J4                                     $




                                               6
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   7. Have you on three or more prior occasions, while incarcerated or detained in any prison,
      jail or other facility, brought an action in a court of the United States that was dismissed
      on the grounds that it was frivolous, malicious, or failed to state a claim upon which relief
      may be granted?

                                 ❑ Yes

       If "Yes" list the dismissals:

         Date Dismissed                       Case Name                          Case Number




                        DECLARATION UNDER PENALTY OF PERJURY

        I declare under penalty of perjury that I have submitted above a complete statement of all
the assets I possess and that all of the information is true and correct.

        I understand that my signature below authorizes the institution of incarceration to forward
from my account to the Clerk of the Court any initial partial filing fee assessed by the Court in
the amount of 20 percent of the great of the average monthly deposits to my prison account or
the average monthly balance in my prison account for the six month period immediately
preceding the filing of the complaint. Therefore, I authorize the institution of incarceration to
forward monthly payments of 20 percent of my preceding month's income credited to my prison
account until I have paid the full amount of the filing fee.



       DATE                                                  SIGNATURE OF APPLICANT

Have the institution fill out the Certificate portion of this affidavit and attach a certified
copy of your prison trust fund account statement from the institution(s) of your
incarceration showing at least the past six months' transactions.




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                                               CERTIFICATE

                       (To be completed by the institution of incarceration)

          I certify that the applicant named herein ha the sum of $                           on account to

his/her credit at (name of institution) eJie'        -)ii'a-) iQ.eeep.)&,v t1?, ,,r'               I further

certify that during the past six months the applicant's average monthly balance was

                           and the applicant's average monthly deposits were $              9. 1         . [

have attached a certified copy of the applicant's prison trust fund account statement showing at

least the past six months' transactions.

          I further certify that the applicant does/does not have a secondary savings account(s) such

as a certificate of deposit or savings bond. The secondary account(s) balance is

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                                                                   ~cy.P~'.1~
          DATE                                 SIGNAT         E O(AUTHORIZED OFFICER




                                   ' pl§ #in    IJ        matl~n was given to the Inmate


                                     prior to it being filed; the information may have

                                                                                 filing:'
                                     been changed after certification & before




                                                      8
11/18/2024
        Case:   PM
           12:361:25-cv-00130-DAR                    FFF -#:
                                                    Doc    Court Certification
                                                             1 Filed:       01/22/25 9 of 9. PageID #: 9                   1of1
                                                         Inmate Id : A801261
                                                          AsOf : 11/18/2024



                           Description                      J.          Beginning                           Ending       Amount
 Resident Id: A801261               L3
Last Name: PAMPLEY JR
First Name: HIGHPRIEST
Middle Name: A


Total Deposits                                              ;5/19/2024 12:00:00 AM               11/19/2024 12:00:00 A    $42.751
Average Monthly Deposits                                    15/19/2024 12:00:00 AM               11/19/2024 12:00:00 A     $7.131

                                                                                                                                   i
Total 1st Day Balances                                       5/19/2024 12:00:00 AM               11/19/2024 12:00:00 A   $170.54
Average 1st Day Balances                                     5/19/2024 12:00:00 AM           111/19/2024 12:00:00 A       $28.42


Balance as of                                                                                    11/19/2024 12:00:00 A
Current Balance                                                                              111/19/2024 12:00:00 A        $0.33
                                                                                             i
                                                                                                                               -_j
FFF Initial Payment as of                                                                        11/19/2024 12:00:00 A     $5.68{


Total Pay (State, OPI, Commission) Deposits                 i 5/19/2024 12:00:00 AM              11/19/2024 12:00:00 A    $36.00
Average Total Pay Monthly Deposits                          i5/19/2024 12:00:00 AM               11/19/2024 12:00:00 A     $6.00
Total Commissary Expenditures
                                                           1 5/19/2024 12:00:00 AM
                                                                                             i
                                                                                                 11/19/2024 12:00:00 A    $75.80


I certify this document is a true and accurate account
of the inmate's financial record on file in my office.


;Signature:
                                                                                                        a
                 i     n



Amber D. AbleforYlin
Correctional Reception Center
11271 St. Rte 762
Orient OH 43146
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